Seven years possession without color of title will bar plaintiff's right to an ejectment; but if the wife be entitled, and the husband sell in fee, the purchaser is in under the wife's title, and has not a possession adverse to hers till the death of her husband; then it is adverse. But seven years have not elapsed, in the present case, since the death of the husband; therefore, the plaintiff may recover.
Verdict and judgment accordingly.
Quere as to the seven years naked possession being a bar to the plaintiff; for it is not law, as the Court of Conference has since decided.
NOTE. — Upon the intimation of the judge as to the effect of possession without color of title, see the cases referred to in the note toStrudwick v. Shaw, 2 N.C. 5, and 1 N.C. 34.